                                                                                 DISTRICT OF OREGON
                                                                                      FILED
                                                                                   December 14, 2018
                                                                              Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                              _______________________________________
                                                                          THOMAS M. RENN
                                                                        U.S. Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF OREGON

In re                                                Case No. 17-60837-tmr11

Ameriflex Engineering LLC,                           ORDER CONFIRMING THIRD
                                                     AMENDED CREDITOR’S PLAN OF
                       Debtor.                       REORGANIZATION DATED
                                                     NOVEMBER 13, 2018 AS MODIFIED


               Michael Zoller (“Zoller”) as creditor in this case, filed a Third Amended Plan of

Reorganization Dated November 13, 2018 as modified at the confirmation hearing and set forth

below (the "Creditor Plan") which came on for hearing on December 12, 13, & 14, 2018. The

Court having heard and considered the evidence introduced at the hearing, the arguments of

counsel, and the records in this case, and having orally entered its findings of fact and

conclusions of law, Now, Therefore,

               IT HEREBY FINDS AND CONCLUDES that:

               A.      This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and

1334. Confirmation of the Creditor Plan is a core proceeding under 28 U.S.C. § 157(b)(2).

Venue is properly before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




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               B.      Notice of the confirmation hearing was provided to creditors and other

parties in interest pursuant to Bankruptcy Rules 2002, 3017 and 3020, and such notice was

reasonable, adequate, and sufficient in all respects.

               C.      The disclosure statement and ballots were transmitted and served in

compliance with the Bankruptcy Code and the Bankruptcy Rules. Votes for acceptance of the

Creditor Plan were solicited in good faith and in compliance with Sections 1125, 1126 and 1127

of the Bankruptcy Code and Rules 3017 and 3018 of the Bankruptcy Rules.

               D.      The Creditor Plan is modified as follows:

               1.      Article 4.9 of the Creditor Plan is stricken and replaced with the

following:
                       “Class 9 (General) Unsecured Claims). Class 9 is unimpaired.
                       The holder of an Allowed Class 9 Claim will be paid the full
                       amount of their Allowed General Unsecured Claim on the
                       Effective Date or on the date the Class 9 Claim is Allowed.

               2.      Article 7.1 of the Creditor Plan is amended to add the following sentence

at the end of the paragraph:
                       BlueEarth shall have up to 60 days after the Effective Date to
                       determine if the real estate lease with CamCo, LLC shall be
                       assumed and assigned, or rejected.

               3.      Section 3(a) of the Agreement for Sale and Purchase of the Business

Assets (Exhibit A to the Creditor’s Plan) is amended to state:
                       Buyer will pay the administrative expense claims on the terms set
                       forth in Article 2.1 of the Creditor’s Plan.

               4.      Section 3(b) of the Agreement for Sale and Purchase of the Business

Assets (Exhibit A to the Creditor Plan) is amended to provide:
                       Buyer will assume the secured claims and pay them in accordance
                       with the Creditor’s Plan as approved by the Confirmation Order.




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               5.      Section 3(c) of the Agreement for Sale and Purchase of the Business

Assets (Exhibit A to the Creditor Plan) is amended to provide:
                       Buyer will pay the unsecured creditors in cash in full upon the Effective
                       Date.

               6.      Section 3(d) of the Agreement for Sale and Purchase of the Business

Assets (Exhibit A to the Creditor’s Plan) is amended to add the following at the end:
                       Buyer shall have up to 60 days after the Effective Date to
                       determine if the real estate lease with CamCo, LLC shall be
                       assumed and assigned, or rejected.

               7.      Section 3(e) of the Agreement for Sale and Purchase of the Business

Assets (Exhibit A to the Creditor Plan) is amended to provide:
                       Buyer will pay the claims for rejection of Contracts not otherwise
                       assumed in full when they become Allowed Claims.


               8.      Section 12 of the Agreement for Sale and Purchase of the Business Assets

(Exhibit A to the Creditor’s Plan) is amended as follows:
                       Delete all language after the third sentence.


               E.      The Creditor Plan complies with the applicable provisions of the

Bankruptcy Code and satisfies Section 1129(a)(1) of the Bankruptcy Code. The Creditor Plan

complies with the classification and other requirements of 11 U.S.C. §§ 1122 and 1123.

               F.      Zoller has complied with all applicable provisions of the Bankruptcy

Code, Bankruptcy Rules, and Local Bankruptcy Rules, and has satisfied Section 1129(a)(2) of

the Bankruptcy Code.

               G.      The Creditor Plan was proposed in good faith and not by any means

forbidden by law, and Section 1129(a)(3) of the Bankruptcy Code has been satisfied.

               H.      Any payments made or to be made by Debtor, Zoller, or by any person

issuing securities or acquiring property under the Creditor Plan, for services or costs and


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expenses in, or in connection with, this Case, or in connection with the Creditor Plan and

incident to this Case, have been approved by, or are subject to the approval of, the Court as

reasonable. Therefore, Section 1129(a)(4) has been satisfied.

               I.      Zoller has disclosed the identity and affiliation of any individuals

proposed to serve, after confirmation of the Creditor Plan, as a director or officer of Debtor, and

the appointment to, or continuance in, such office of such individual is consistent with the

interests of creditors and equity security holders and with public policy. Zoller has disclosed the

identity of any insider that will be employed or retained by Reorganized Debtor and the nature of

any compensation for such insider. Therefore, Section 1129(a)(5) has been satisfied.

               J.      Section 1129(a)(6) is not applicable because no governmental regulatory

commission has jurisdiction over the rates of Debtor.

               K.      Section 1129(a)(7) has been satisfied because each holder of a Claim in an

impaired class of claims has accepted the Creditor Plan or will receive or retain under the

Creditor Plan on account of such Claim property of a value as of the Effective Date of the

Creditor Plan that is not less than the amount such holder would receive or retain if Debtor was

liquidated under Chapter 7.

               L.      To the extent all impaired classes of claims have not accepted the Creditor

Plan, proponent requested that Creditor’s Plan be confirmed pursuant to 11 U.S.C. Section

1120(b)(1). In accordance with 11 U.S.C. § 1129(b)(1), the Court finds that the applicable

requirements of 11 U.S.C. § 1129(b)(1), other than 11 U.S.C. § 1129(a)(8), are met with respect

to Creditor’s Plan. Creditor’s Plan does not discriminate unfairly, and is fair and equitable with

respect to each class of claims or interests that are impaired and have not accepted Creditor’s

Plan. Creditor’s Plan satisfies 11 U.S.C. § 1129(b)(1).

               M.      Section 1129(a)(9) is satisfied because the Creditor Plan provides for

payment in full of all priority claims in a manner and within the timeframes specified by

Section 1129(a)(9).


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                 N.     At least one class of impaired claims has accepted the Creditor Plan and

Section 1129(a)(10) is satisfied.

                 O.     Section 1129(a)(11) is satisfied because the evidence introduced in

support of the Creditor Plan demonstrates that the Creditor Plan is feasible and that confirmation

of the Creditor Plan is not likely to be followed by the liquidation (other than the liquidation of

assets set out in the Creditor Plan) or the need for further financial reorganization of Debtor.
                 P.     Zoller shall be responsible for timely payment of U.S. Trustee fees incurred

pursuant to 28 USC § 1930(a)(6) until the case is closed, converted or dismissed (including payment

of any such fees incurred in any partial quarter during which this case is closed, converted or

dismissed). After confirmation, the Reorganized Debtor shall file with the Court a monthly financial

report for each month, or portion thereof, that the case remains open. The monthly financial report

shall include a statement of all disbursements made during the course of the month, whether or not

pursuant to the Plan. All U.S. Trustee fees, including any such fees accrued in any partial quarter,

shall be paid as a condition precedent prior to case closure.

                 Q.     Sections 1129(a)(13) – (16) do not apply to the Creditor Plan.

                 R.     The modification to the Creditor Plan made at the confirmation hearing

and by this order do not adversely change the treatment of the claim of any creditor or the
interest of any equity security holder. Therefore, the Creditor Plan, as modified, is deemed to be

accepted by all creditors who have previously accepted the Creditor Plan. The modifications do

not impact, alter, modify or adversely change the treatment of any other class of creditors under

the Creditor Plan and, therefore, no additional notice, disclosure, balloting or hearings need to be

held in connection therewith, and all provisions of Section 1125 are deemed to have been

complied with.

                 Now, therefore,




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                IT IS HEREBY ORDERED that:

                1.     The Creditor Plan is confirmed in all respects pursuant to 11 U.S.C.

§ 1129. Capitalized terms used but not defined in this Order shall have the meaning assigned to

them in the Creditor Plan. A copy of the Creditor Plan as modified herein is attached hereto as

Exhibit A.
                2.     All objections have either been overruled or are addressed in this Order.

                3.     Creditor’s proposed modifications to the Creditor Plan do not adversely

change the treatment of the claim of any Creditor or Interest Holder that has not accepted the

modification.

                4.     Except as otherwise expressly provided in the Creditor Plan or this Order,

upon the Effective Date, all property and assets of the estate of Debtor shall revest in

Reorganized Debtor or vest in BlueEarth Marine, LLC (“BlueEarth”), in each case as provided in

the Creditor Plan, free and clear of all Claims, liens, encumbrances, charges, and other interests

arising on or before the Effective Date.

                5.     All actions contemplated by the Creditor Plan are authorized and approved

in all respects (subject to the provisions of the Creditor Plan), and Reorganized Debtor, and its

agents and officers, are hereby authorized and directed to take all actions, and enter into and

execute all documents, reasonably necessary or appropriate to effectuate the Creditor Plan and to

consummate the transactions contemplated by the Creditor Plan.

                6.     To the extent provided in Section 1141 of the Bankruptcy Code, and

except as otherwise specifically provided in the Creditor Plan or this Order, the distributions and

rights provided in the Creditor Plan and this Order shall be in complete satisfaction, discharge,

and release of all liens, security interests, encumbrances and Claims, whether known or

unknown, against Debtor that arose prior to the Effective Date.




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               7.      Pursuant to Section 1146(a) of the Bankruptcy Code, the issuance,

transfer, or exchange of any security under the Creditor Plan, or the execution, delivery, or

recording of an instrument of transfer pursuant to, in implementation of, or as contemplated by

the Creditor Plan, or the revesting, transfer, or sale of any real property of Debtor or Reorganized

Debtor pursuant to, in implementation of, or as contemplated by the Creditor Plan, shall not be

taxed under any state or local law imposing a stamp tax, transfer tax, or similar tax or fee.

               8.      Any administrative expense claim or application for professional fees or

reimbursement of expenses shall be filed within 30 days from the Effective Date or be barred.

               9.      This Order shall be deemed to be in recordable form, and shall be accepted

by any recording officer for filing and recording purposes without further or additional orders,

certifications or other supporting documents.

               10.     If there is any conflict between the Creditor Plan and this Order, the terms

of this Order shall control.

               11.     To the extent any provision designated herein as a finding of fact is more

properly characterized to be a conclusion of law, it shall be so deemed, and vice versa.

               12.     Attached hereto to the Creditor Plan as Exhibit 1 is the Agreement for Sale

and Purchase of Business Assets (“Asset Purchase Agreement”) setting forth the terms and

conditions upon which BlueEarth shall acquire all Debtor's Assets, except those specifically

retained by Reorganized Debtor ("Purchased Assets").

               13.     The terms and conditions of the Asset Purchase Agreement, as may be

amended, are approved in their entirety. Debtor is directed by the Court (and if Debtor fails to do

so, shall be sanctioned by the Court) to consummate, perform under, and implement the Asset

Purchase Agreement, together with all additional instruments and documents that may be

reasonably necessary or desirable to implement the Asset Purchase Agreement, and to take all

further action as may be reasonably requested by BlueEarth for the purpose of assigning,

transferring, granting, conveying, and conferring to BlueEarth, or reducing to BlueEarth's


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possession, the Purchased Assets, and to otherwise perform and cause Debtor to perform all of its

obligations under the Asset Purchase Agreement. To the extent Debtor fails to perform such

actions, they shall, in any event, be deemed performed, and any such documents may be executed

by Reorganized Debtor and deemed effective as if executed by Debtor.

                 14.   The sale of the Purchased Assets shall be free and clear of all liens, claims,

encumbrances, charges, and other interests, except as otherwise specifically provided in the

Creditor Plan.

                 15.   Each and every federal, state, and local governmental agency or

department is hereby directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Asset Purchase Agreement. The

Confirmation Order shall be effective as a determination that all liens shall be and are, without

further action by any person or entity, released with respect to the Purchased Assets, except as

otherwise provided in the Creditor Plan.

                 16.   The assumed executory contracts and leases shall be deemed assumed by

Debtor and assigned and transferred to, and remain in full force and effect for the benefit of,

BlueEarth in accordance with their respective terms, notwithstanding any provision in any such

agreement, including provisions of the type described in 11 U.S.C. § 365(b)(2), (e)(1) and (f)(1),

which prohibits, restricts, or conditions such assignment or transfer. The non-debtor party to

each assigned agreement shall be deemed to have consented to such assignment under 11 U.S.C.

§ 365(c)(1)(B), and BlueEarth shall enjoy all of the rights and benefits of each assigned

agreement as of the Effective Date without the necessity of obtaining such non-debtor party's

written consent to the assumption and assignment thereof.

                 17.   Subject to the terms of the Creditor Plan with respect to cure amounts, all

defaults and other obligations of Debtor under the assigned agreement arising or accruing prior to

the Effective Date will be cured as of the Effective Date in accordance with the terms of the

Asset Purchase Agreement such that BlueEarth shall have no liability or obligation with respect


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to any default or obligation arising or accruing under any assigned agreement prior to the

Effective Date. Each non-debtor party to an assigned agreement is forever barred, estopped, and

permanently enjoined from asserting against BlueEarth or its property or affiliates, or any

thereof, any breach or default arising prior to the Effective Date under any assigned agreement,

any claim of lack of consent relating to the assignment thereof, or any counterclaim, defense,

setoff, right of recoupment, or other matter arising prior to the Effective Date for such assigned

agreement or with regard to the assumption and assignment thereof pursuant to the Asset

Purchase Agreement or the Confirmation Order. Upon entry of this Order, BlueEarth shall be

deemed in compliance with all terms and provisions of the assumed and assigned executory

contracts and leases.

               18.      The consideration provided by BlueEarth for the Purchased Assets under

the Asset Purchase Agreement and the Creditor Plan is fair and reasonable.

               19.      The transactions contemplated by the Asset Purchase Agreement are

undertaken by BlueEarth in good faith and, accordingly, the reversal or modification on appeal of

the authorization provided in the Confirmation Order to consummate the sale shall not affect the

validity of the sale to BlueEarth. BlueEarth is a good faith purchaser of the Purchased Assets,

and is entitled to all the benefits and protections afforded by 11 U.S.C. § 363(m) as made

applicable through this Order.

               20.      The Asset Purchase Agreement and the transaction contemplated thereby

may be specifically enforced against, and are binding upon, and are not subject to rejection or

avoidance by any person or entity, including Debtor, Debtor's owners, Reorganized Debtor, or

any Chapter 7 or Chapter 11 trustee subsequently appointed in the Bankruptcy Case.

               21.      No bulk sales law or similar law of any state or other jurisdiction shall

apply in any way to the transfer of the Purchased Assets to BlueEarth.

               22.      The Asset Purchase Agreement and any related agreements, documents, or

other instruments may be modified, amended, or supplemented by BlueEarth in accordance with


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the terms thereof consistent with the Creditor Plan without further order of the Court, provided

that any such modification, amendment, or supplement does not have a material adverse effect on

Debtor's estate.

               23.     Reorganized Debtor shall be comprised of the post-confirmation debtor,

which will consist of all remaining Assets of Debtor not transferred to BlueEarth which are

claims being retained by Reorganized Debtor as described in Schedule 1.1(k) to the Asset

Purchase Agreement. Reorganized Debtor shall investigate and, where appropriate, assert

objections to Claims and/or causes of action against Creditors, Claims, or Equity Security

Holders. All pre-petition and post-petition causes of action held by the Debtor, and all Chapter 5

avoidance claims, shall be held by and may be pursued by Reorganized Debtor (or BlueEarth to

the extent provided for in the Asset Purchase Agreement of the Creditor Plan). To the extent any

recoveries are received, they will be used to offset or reduce the payment obligations of

BlueEarth on those Claims as otherwise set forth in the Asset Purchase Agreement and this

Creditor Plan. Any affirmative recovery beyond offset or claim reduction shall be retained by

Reorganized Debtor.

               24.     Notwithstanding any provision to the contrary in the Creditor Plan, all

rights, claims and causes of action, whether equitable or legal, of the Debtor, Debtor in

Possession or Reorganized Debtor against all persons arising under Sections 544, 545, 547, 548

and 549 of the Bankruptcy Code, or under any other applicable non-bankruptcy law for the

recovery of avoidable fraudulent conveyances or other transfers, are reserved for Reorganized

Debtor and Zoller who may commence adversary proceedings against persons or entities to

realize upon causes of action retained.

               25.     Upon entry of the Confirmation Order, all actions contemplated by the

Creditor Plan shall be automatically authorized and approved by Debtor in all respects (subject to

the provisions of the Creditor Plan), including, without limitation, the execution, delivery, and

performance of all documents and agreements relating to the Creditor Plan, including the Asset


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Purchase Agreement. Upon entry of the Confirmation Order, the appropriate officers of Debtor

are authorized and directed to execute and deliver the agreements, documents, and instruments

contemplated by the Creditor Plan, including an executed Asset Purchase Agreement, in the

name of and on behalf of Debtor. The failure to do so will not impact the validity at the sale, but

shall subject Debtor and its members to contempt of Court for failure to follow the Court's

Confirmation Order.

                26.    This Order is a Final Order. There shall be no stay of this Order under

Bankruptcy Rule 3020(e).

                                               ###

I certify that I have complied with the requirements of LBR 9021-1(a). Counsel for the Debtor,
PDPM, SSR, LLC, Wells Fargo Commercial Distribution Finance, LLC, and the United States
Trustee have approved the form of the order. No objections were received.

Presented by:

THE LAW OFFICES OF KEITH Y. BOYD


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